         Case 5:95-cr-00101-NAM Document 620 Filed 10/25/19 Page 1 of 8



UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
______________________________________________

UNITED STATES OF AMERICA,


        v.                                                         95-CR-101 (NAM)


TOMMY WALKER III,

                        Defendant.
______________________________________________

APPEARANCES:

Steven D. Clymer,
Office of the United States Attorney
100 South Clinton Street
Syracuse, NY 13261
Attorney for the United States

Molly K. Corbett,
Office of the Federal Public Defender,
Northern District of New York
39 N. Pearl Street, 5th Floor
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Attorney for the Defendant


Hon. Norman A. Mordue, Senior U.S. District Court Judge:

                        MEMORANDUM-DECISION AND ORDER

   I.        INTRODUCTION

        Now before the Court is Defendant’s motion to reduce his sentence pursuant to the First

Step Act of 2018. (Dkt. No. 616; see also Dkt. No. 610). The Government has responded to the

motion, and Defendant has also filed a reply. (Dkt. Nos. 618, 619). Defendant’s motion is

granted, for the reasons that follow.




                                               1
            Case 5:95-cr-00101-NAM Document 620 Filed 10/25/19 Page 2 of 8



      II.      BACKGROUND

            In 1995, Defendant was arrested on numerous charges involving a continuing criminal

enterprise and drug conspiracy based in Utica, New York. Since 1997, Defendant has been

serving a life sentence which the Court (Munson, SJ.) imposed after a jury trial concluded with

a verdict of guilty on twelve counts. Specifically, Defendant was charged, convicted, and

sentenced as follows:

 Count Offense                                Governing Penalty Statute   Sentence Imposed

 1           Continuing criminal enterprise   21 U.S.C. § 848(b)          Life
             involving narcotics
 2           Narcotics conspiracy             21 U.S.C. § 841(b)(1)(A)    Dismissed as lesser
                                                                          included offense
 3           Felon in possession of weapon    18 U.S.C. § 924(a)(2)       120 months

 4           Felon in possession of weapon    18 U.S.C. § 924(a)(2)       Dismissed at trial

 5           Felon in possession of weapon    18 U.S.C. § 924(a)(2)       Dismissed at trial

 6           Felon in possession of weapon    18 U.S.C. § 924(a)(2)       Dismissed at trial

 7           Aiding and abetting possession   21 U.S.C. § 841(b)(1)(C)    240 months
             of methamphetamine with
             intent to distribute
 8           Possession of cocaine base       21 U.S.C. § 841(b)(1)(C)    240 months
             with intent to distribute
 9           Possession of cocaine base       21 U.S.C. § 841(b)(1)(C)    240 months
             with intent to distribute
 10          Possession of cocaine base       21 U.S.C. § 841(b)(1)(B)    480 months
             with intent to distribute
 11          Possession                       21 U.S.C. § 841(b)(1)(B)    480 months
             of methamphetamine with
             intent to distribute
 12          Possession of cocaine base       21 U.S.C. § 841(b)(1)(B)    480 months
             with intent to distribute
 16          Aiding and abetting possession   21 U.S.C. § 841(b)(1)(A)    Life
             of cocaine base with intent to
             distribute
 17          Aiding and abetting possession   21 U.S.C. § 841(b)(1)(C)    240 months
             of cocaine with intent to
             distribute

                                                  2
                 Case 5:95-cr-00101-NAM Document 620 Filed 10/25/19 Page 3 of 8



    18           Aiding and abetting possession    21 U.S.C. § 841(b)(1)(A)      Life
                 of cocaine base with intent to
                 distribute
    26           Firearms conspiracy               18 U.S.C. § 371               60 months


(See Dkt. Nos. 365, 367). 1 In sentencing Defendant, the Court found that his base offense level

was 42 under the United States Sentencing Guidelines (“U.S.S.G” or the “Guidelines”), with a

criminal history category of III. (Dkt. No. 365, p. 27). The Guideline imprisonment range was

life, because that was the statutory minimum term of imprisonment under 21 U.S.C. § 848.

(Id.). Therefore, Defendant was sentenced to life imprisonment, with the sentences on the

counts of conviction to run concurrently. (Id., p. 28).

         III.      STANDARD OF REVIEW

                In general, a federal district court may only modify a term of imprisonment once it has

been imposed in rare circumstances or “to the extent otherwise expressly permitted by statute.”

18 U.S.C. § 3582(c)(1)(B).

                The Fair Sentencing Act became law on August 3, 2010. Pub. L. No. 111-220, 124 Stat.

2372. The new law “increased the quantities necessary to trigger application of the statutory

ranges for crack cocaine offenses.” United States v. Powell, 360 F. Supp. 3d 134, 138

(N.D.N.Y. 2019). Specifically, section 2 of the Fair Sentencing Act amended 21 U.S.C. §

841(b)(1)(A) and (b)(1)(B). See id. The amendments replaced the “50 grams or more”

threshold with “280 grams or more” for triggering enhanced penalties under 21 U.S.C. §

841(b)(1)(A) and replaced the “5 grams or more” threshold with “28 grams or more” for

triggering enhanced penalties under 21 U.S.C. § 841(b)(1)(B). Id. However, the Fair




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 The Court notes that the Judgment in this case, Dkt. No. 367, erroneously referred to convictions on
Counts 4, 5, and 6. Those Counts were dismissed at trial. (See Dkt. Nos. 316, 423, pp. 360, 367).
                                                        3
          Case 5:95-cr-00101-NAM Document 620 Filed 10/25/19 Page 4 of 8



Sentencing Act only applied to defendants sentenced after August 3, 2010, and thus Defendant

could not benefit from the reduced penalties.

         On December 21, 2018, the First Step Act of 2018 became law. See Pub. L. No. 115-

391, 132 Stat. 5194. Under the new law, “[a] court that imposed a sentence for a ‘covered

offense’ may, on motion of the defendant . . . impose a sentence as if sections 2 and 3 of the Fair

Sentencing Act of 2010 were in effect at the time the covered offense was committed.” Id. at §

404(b). A “covered offense” means a violation of a Federal criminal statute that was modified

by Section 2 or 3 of the Fair Sentencing Act. Id. at § 404(a). Thus, the First Step Act

“effectively authorizes a district court to give retroactive effect to the statutory penalty

provisions of the Fair Sentencing Act of 2010 . . . and thereby reduce a crack cocaine

defendant’s sentence.” Powell, 360 F. Supp. 3d at 138.

         Although Defendant has requested a re-sentencing hearing, the Court finds that one is

not necessary because the implications of the Fair Sentencing Act and First Step Act can be

determined based on existing record and the parties’ submissions.

   IV.      DISCUSSION

         There is no dispute that Defendant is now eligible for re-sentencing because his violation

of 21 U.S.C. § 848(b) is a covered offense under the First Step Act. The question for the Court

is whether to do so, and to what extent. Defendant seeks a reduced sentence that equates to time

served based on the new law and his good behavior in prison. (Dkt. Nos. 616, 619). In

response, the Government argues that no reduction is warranted because if the new law had

been in effect at the time of sentencing, Defendant’s Guidelines imprisonment range would still

have been 360 months to life. (Dkt. No. 618).




                                                  4
        Case 5:95-cr-00101-NAM Document 620 Filed 10/25/19 Page 5 of 8



       At the time of sentencing, Defendant was subject to a statutory minimum sentence of life

imprisonment under 21 U.S.C. § 848(b) because the Court determined that his continuing

criminal enterprise involved over 1.5 kilograms of cocaine base, an amount exceeding 300 times

the “5 grams or more” quantity of cocaine base penalized in 21 U.S.C. § 841(b)(1)(B).

However, if the Fair Sentencing Act had been in effect at the time, the quantity of cocaine base

penalized in 21 U.S.C. § 841(b)(1)(B) would have been “28 grams or more.” Consequently, the

minimum quantity of cocaine base to merit a life sentence under 21 U.S.C. § 848(b) would have

been 8.4 kilograms. Since Defendant’s continuing criminal enterprise involved 1.5 kilograms,

he would not be subject to a life imprisonment.

       The question then becomes what is Defendant’s appropriate Guidelines range based on

the changes in the Fair Sentencing Act. Under the Guidelines Section for Continuing Criminal

Enterprise, Defendant’s base offense level is found by taking the greater of: (1) 4 plus the

offense level from § 2D1.1 applicable to the underlying offense; or (2) 38. U.S.S.G § 2D1.5(a).

Defendant argues that 38 is the relevant offense level based on § 2D1.5(a)(2), with a resulting

Guidelines range of 292–365 months (the criminal history category remains unchanged at III).

(Dkt. No. 616-1, p. 11). In contrast, the Government asserts that Defendant’s offense level

should be 40, which it calculates by adding 4 to an offense level of 36 pursuant to §

2D1.5(a)(1). (Dkt. No. 618, p. 13). Specifically, using § 2D1.1 and the 1.5 kilograms of

cocaine base, the Government starts at an offense level of 32. The Government then adds 4

points based on specific characteristics of the continuing criminal enterprise: (1) 2 points for

possession of a firearm; and (2) 2 points for maintaining a premises for the purpose of

manufacturing or distributing a controlled substance. See § 2D1.1(b)(1) and (b)(12). At an

offense level of 40 and a criminal history of III, the Guidelines ranges is 360 months to life.



                                                  5
        Case 5:95-cr-00101-NAM Document 620 Filed 10/25/19 Page 6 of 8



       In response, Defendant argues that these aggravating offense characteristics are not

applicable to his case, particularly without more factfinding and the opportunity to be heard.

(Dkt. No. 619, p. 17). There can be no dispute that Defendant possessed a firearm in connection

with the continuing criminal enterprise, since he was convicted of being a Felon in Possession

of a Weapon and Firearms Conspiracy. As to the enhancement for maintaining a premises for

the purpose of manufacturing or distributing a controlled substance, the Presentence Report

(“PSR”) completed by the Probation Office indicates that Defendant “set up places where the

drugs and firearms were stored.” (PSR, ¶ 17). But the PSR does not explain the nature of the

places or whether manufacturing/distributing occurred there. Moreover, this fact was not an

element of the charged crimes and did not affect Defendant’s original sentence, and therefore,

he would have had little reason to contest it. Indeed, this enhancement did not exist in the

version of the Guidelines used at the time of sentencing.

       Under these circumstances, the Court finds that it is inappropriate to impose the 2-point

enhancement under § 2D1.1(b)(12). See also United States v. Rose, 379 F. Supp. 3d 223, 229–

30 (S.D.N.Y. 2019) (“To preclude defendants from seeking relief on the basis of facts that may

have had little significance at the time they were determined would be draconian and contrary to

the remedial purpose of the First Step Act.”). Accordingly, Defendant’s offense level amounts

to 38 using either § 2D1.5(a)(1) (that is 4 plus the 34-offense level from § 2D1.1) or §

2D1.5(a)(2). It follows that Defendant’s revised Guidelines range under the Fair Sentencing

Act (and First Step Act) is 292–365 months. 2




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  Defendant’s convictions on Counts 3, 7–12, 16–18, and 26 do not affect this range because they are
subsumed by Count 1, the violation of 21 U.S.C. § 848(b), which dictated his original sentence.
                                                 6
         Case 5:95-cr-00101-NAM Document 620 Filed 10/25/19 Page 7 of 8



        After careful consideration, the Court will use this Guidelines range to reduce

Defendant’s sentence. Defendant has been imprisoned since March 21, 1995, over 295

months—or nearly 25 years. He is now 62 years-old. During his imprisonment, Defendant has

completed his GED, taken extensive educational courses, and excelled at jobs including

electrician, law library clerk, and hospital companion, earning strong endorsements from

various prison officials. (See Dkt. Nos. 610-1, pp. 3–47; 616-4, 616-5). He has also served as a

mentor to other prisoners, who have submitted testimonials on his behalf. In short, Defendant

has used his time in custody to better himself and help others.

        Furthermore, the Court finds that a reduced sentence is consistent with the purposes of

the First Step Act and Congress’s intent to remedy the disproportionate impact of the statutory

penalties applied to crack cocaine offenses prior to 2010, and to eliminate the disparity between

Defendant and those sentenced thereafter. In sum, based on all the facts, the changes in the Fair

Sentencing Act and the First Step Act, and the factors set forth in 18 U.S.C. § 3553(a), the Court

concludes that a sentence of 340 months is appropriate. Among other things, this sentence

reflects the severity of the crimes committed by Defendant, while recognizing his efforts at

rehabilitation.

        Based on this reduced sentence, Defendant is also now eligible for good time credit

pursuant to 18 U.S.C. § 3624(b)(1). Given Defendant’s good behavior, it appears that he would

receive approximately 44 months of credit toward his sentence. But that determination must be

made by the Bureau of Prisons. Assuming that Defendant’s combined time served and good

time credit amounts to less than 340 months total, the Court recommends that Defendant spend

the remainder of his term in a residential reentry center to facilitate his successful reintegration

in the community. See 18 U.S.C. § 3624(c).



                                                  7
           Case 5:95-cr-00101-NAM Document 620 Filed 10/25/19 Page 8 of 8



          Finally, Defendant shall be subject to a period of five years supervised release, as

originally ordered by Judge Munson. Probation shall assist Defendant with his return to society.

Defendant is encouraged to continue his positive efforts toward a lawful, productive life.

    V.          CONCLUSION

          Wherefore, it is hereby

          ORDERED that Defendant’s motion to reduce his sentence pursuant to Section 404(b)

of the First Step Act (Dkt. No. 616) is GRANTED; and it is further

          ORDERED that Defendant’s pro se motion seeking retroactive application of the Fair

Sentencing Act in light of the First Step Act (Dkt. No. 610) is DENIED as moot; and it is

further

          ORDERED that, having already served the sentence imposed for Counts 3, 7–9, 17, and

26, Defendant’s term of imprisonment on the remaining Counts 1, 10, 11, 12, 16, and 18 is

REDUCED to 340 MONTHS, to be served concurrently; and it is further

          ORDERED that Defendant’s period of supervised release shall be FIVE YEARS; and

it is further

          ORDERED that the Clerk of the Court is directed to file this Memorandum-Decision

and Order and serve copies upon the parties; and it is further

          ORDERED that the Clerk of the Court shall file on the docket an Amended Judgment in

in accordance with this Memorandum-Decision and Order.

          IT IS SO ORDERED.

          Dated: October 25, 2019
                 Syracuse, New York




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